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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MUTINTA MICHELO, et al.,

                              Plaintiffs,

       -vs-
                                                                       Civil No. 1:18-cv-01781
                                                                       Civil No. 1:18-cv-07692
NATIONAL COLLEGIATE STUDENT LOAN
TRUST 2007-2, et al.,

                              Defendants.



         MOTION OF NON-PARTY AFFIANT X FOR A PROTECTIVE ORDER

       NOW COMES non-party Affiant X, through undersigned counsel, and pursuant to Rule

26(c) of the Federal Rules of Civil Procedure, hereby moves for a protective order because good

cause exists to protect Affiant X from being subjected to the requested subpoena deposition.

Alternatively, Affiant X requests that this Court limit the scope of the requested deposition to a

deposition on written questions. In support thereof, Affiant X states as follows:

I.     Introduction

       This is not Affiant X’s first attempt to seeking relief from the taking of the requested

deposition. This Court has previously denied a motion to quash the subpoena or for a protective

order. See Order of July 17, 2020 (the “Order”) (Dkt. 195). The District Court subsequently

overruled the objections to the Order . See Order of February 16, 2021 (Dkt. 254).

       Affiant X is filing the current motion for a protective order because circumstances have

changed since the original motion – both in the discovery that has since been completed, and a

deterioration in Affiant X’s medical condition mandating the protection of the non-party’s health.
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II.     Chronology of Events and Factual Background

        Affiant X is, as of August, 2020, a former employee of defendant Transworld Systems Inc.

(TSI), and is not a party to this case. As far as Affiant X understands it, the underlying lawsuit

alleges that TSI violated the Fair Debt Collection Practices Act and New York law by, as relevant

here, having employees execute affidavits in support of collection lawsuits that contained false

and misleading statements. Affiant X further understands that plaintiffs seek to take the deposition

because Affiant X executed one of the affidavits that were used in a lawsuit filed against one of

the plaintiffs, Sandra Tabar. This affidavit was signed by Affiant X in 2014.

        Affiant X had been employed with TSI, or its predecessor NCO Financial Systems, Inc.,

since 2005. See Dkt. 196-2, ⁋ 2. Until June of 2018, Affiant X was employed as a Legal Case

Manager with the duties of reviewing, approving and signing affidavits. Id., ⁋ 3. In some lawsuits,

Affiant X was required to sit for a deposition or appear at trials. Id., ⁋ 4. The process of giving

testimony at a deposition or trial caused Affiant X to experience anxiety and stress, and Affiant X

was eventually diagnosed with stress induced epilepsy. Id., ⁋⁋ 5-6. On the recommendation of

Affiant X’s doctor, Affiant X transferred jobs at TSI in June 2018 to a new position that did not

require the giving of testimony at deposition or trial to avoid the stressful and anxiety-inducing

situations. Id., ⁋ 7, ⁋ 9.

        On or about July 24, 2020, Affiant X was advised that the Court had denied a request to

quash a deposition subpoena, and that Affiant X had been ordered by the Court to sit for a 4-hour

deposition. Learning of the impending deposition caused an increase in Affiant X’s levels of

anxiety and stress, and Affiant X subsequently sustained a stroke on or about August 3, 2020. See

Declaration of “Affiant X” attached hereto as Exhibit A, ⁋ 12.




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        After suffering the stroke, Affiant X was forced to resign his position from TSI, and

Affiant X does not anticipate being able to return to work in any capacity. Ex. A, ⁋ 14.

        Affiant X has been treated for a seizure disorder arising from stress induced epilepsy with

board certified neurologist Dr. Michael Lacey since approximately 1996. See Dr. Lacey letter of

March 22, 2021 attached as Exhibit B. Dr. Lacey has determined that Affiant X suffered a stroke

in August 2020 that manifested with “altered mentation, slurred speech, difficulty with balance

and coordination.” Id. Affiant X’s health has improved since August 2020, but Dr. Lacey has

noted that that Affiant X continues to experience limitations “with speech expression and has

significantly slowed cognitive processing compared to his baseline.” Id. Dr. Lacey has concluded

that this “continued impairment” means that Affiant X is “considered cognitively impaired and

therefore unable to give a reliable, valid deposition or testimony, with the caveat that sleep

deprivation, stress and external tension causes significant deterioration of the symptoms.” Id.

Based on this, Dr Lacey has reached the medical opinion that Affiant X should “not testify or give

any deposition, since [Dr. Lacey] believe[s] this would be subjecting him to undue duress and

there may be issues with the content of said deposition.” Id.

III.    Good Cause Exists for Issuance of A Protective Order Because the Deposition of
        Affiant X Is Contrary to Expert Medical Advice and Has Minimal Evidentiary Value

        Since the original motion filed on behalf of Affiant X to quash the deposition subpoena,

the circumstances of Affiant X’s health, as well as the on-going discovery, have changed to such

a degree that good cause does exist for issuance of a protective order either barring the deposition

of Affiant X in full, or at a minimum, limiting any deposition to written questions. Here, the

deposition of Affiant X would be unreasonably cumulative of testimony already obtained, or being

obtained from similarly situated affiant employees of TSI. Moreover, Affiant X should be excused

from giving a deposition because, when balanced with the burden on Affiant X compared to the



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need for and limited value of the expected testimony, the burden to Affiant X is immense and

potentially catastrophic while the value for plaintiffs is minimal.

       “Rule 26(b)(2) permits a district court to limit the frequency or extent of use of the

discovery methods otherwise permitted under the federal rules if it determines that (1) the

discovery sought is unreasonably cumulative or duplicative, or more readily obtainable from

another source; (2) the party seeking discovery already has had ample opportunity to obtain the

information sought; or (3) the burden or expense of the proposed discovery outweighs its likely

benefit.” Id. (quoting Fed. R. Civ. P. 26(b)(2)(i)-(iii)). Additionally, “Rule 26(c) provides that

for good cause shown a court may make any order which justice requires to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense, including that

the discovery not be had or that it be had only by a method other than that selected by the party

seeking discovery.” Id. (quoting Fed. R. Civ. P. 26(c)(1), (3)).

       A.      Standing Alone, The Risk to Affiant X’s Health Poses A Sufficient Burden To
               Prevent The Deposition.

       This Court previously denied a motion to quash the subpoena of Affiant X. Dkt. 195. In

that Order, the Court concluded that a protective order was not appropriate because, in part, “the

proposed witness is cognitively unimpaired and capable of full-time work.” Dkt. 195, p. 8. That

can no longer be considered the case.

       Affiant X recognizes, as this Court found, that a “prohibition against the taking of an oral

deposition is a very unusual procedure and a party who seeks a protective order prohibiting such

a deposition bears a heavy burden of demonstrating good cause for such an order.” Dkt. 195, p. 5

(case citations omitted).

       Affiant X, a non-party, carries this burden. Affiant X’s treating physician had noted that

Affiant X began to suffer “a sudden onset of altered mentation, slurred speech, difficulty with



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balance and coordination” near the time that Affiant X was ordered to be deposed. Ex. B. See also

medical records from Dr. Lacey for Affiant X obtained from August 2020 to the present

documenting treatment attached as Exhibit C. Affiant X’s stroke has resulted in “significantly

slowed cognitive processing compared to his baseline”, and Affiant X is now “considered

cognitively impaired.” Moreover, Dr. Lacey opines that “sleep deprivation, stress and external

tension causes a significant deterioration of the symptoms” of Affiant X. Id. As happened last

August, the prospect of giving a deposition would cause Affiant X to suffer from difficulty

sleeping, stress and external tension causing an exacerbation of Affiant X’s symptoms. As a result,

Dr. Lacey has opined that Affiant X should “not testify or give any deposition” because doing so

would be subjecting Affiant X “to undue duress.” Id. Finally, Affiant X is no longer capable of

full-time or part-time work, and was forced to resign employment from TSI as a result of the stroke.

Ex. A, ⁋ 14.

       In sum, Affiant X’s treating physician and the associated medical records confirm that

Affiant X sustained a serious injury in August 2020; that the injury has affected Affiant X’s

physical and cognitive abilities; that Affiant X experiences stress and anxiety at the prospect of

giving a deposition, and that this anxiety and stress would induce further medical trauma. Affiant

X should be excused from giving a deposition in this case.             See In re Tutu Water Wells

Contamination CERCLA Litigation, 189 F.R.D. 153, 155 (D. Vi. 1999) (protective order was

warranted based on physician’s belief that there was a “distinct threat of stroke or heart attack”);

but see Huggins v. NC Department of Administration, No. 5:10-cv-414-FL, 2012 WL 2061943,

*4 (E.D. N.C. 2012) (denying plaintiff’s motion for protective order because “plaintiff’s medical

records provide little or no evidence that she has had a stroke or is at risk for stroke.”)




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       B.      The Deposition Of Affiant X Is Largely Duplicative, Cumulative and Similar
               Testimony Was Already Obtained from Other Affiants

       In the prior Order regarding Affiant X’s deposition, the Court concluded that Affiant X’s

deposition was relevant and proportional to the needs of the case because Affiant X was “a

percipient witness as to the circumstances under which that document was prepared and filed and,

potentially, the circumstances under which the case against the Plaintiff was discontinued after the

default was vacated.” Id., p. 6. Understanding and acknowledging that memories can be jogged

at a deposition, it still must be pointed out that Affiant X has no recollection of the particular

lawsuit filed against Plaintiff Tabar, or the process that culminated in the signing of the particular

default judgment affidavit filed in state court. See Ex. A, ⁋ 19. And, as the medical condition of

Affiant X has deteriorated and resulted in cognitive impairment according to his treating

neurologist, there is a medical basis to conclude that Affiant X’s recollection will not be restored.

In our view, Affiant X arguably is not a true percipient witness due to the lapse of time, the nature

of the prior job duties, and intervening medical injury.

       To be clear, Affiant X’s involvement in this case arises from an affidavit that was executed

in 2014. To the extent the anticipated testimony relates to the specifics of that affidavit, Affiant X

cannot be expected to have any specific recall of one single affidavit that was reviewed, approved

and signed over the course of a near 13-year career. And, if the requested testimony instead, and

more reasonably, relates to the procedures and process for reviewing, approving and signing

affidavits generally used at TSI, Affiant X understands that this evidence has been already

provided to plaintiffs, both through document production and the taking of three depositions.

       Specifically, as understood by Affiant X, TSI’s corporate representative testified to the

affidavit generation process at length, and the actual day-to-day job duties of TSI affiants have

been described at length by two former affiants in depositions already completed by plaintiffs.



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Finally, two more former affiants are likely to be deposed, so that five different witnesses will

testify regarding the affidavit generation process at TSI and NCO. Dkt. 255.

       Affiant X anticipates that plaintiffs will argue again that the testimony is not cumulative or

duplicative, because of the “unique personal knowledge” Affiant X has in relation to the lawsuit

filed against plaintiff Tabar. Dkt. 221. Even under the best of circumstances, it is improbable that

Affiant X would have any recollection of an affidavit that was reviewed and signed as part of the

normal job function of Affiant X seven years ago. When combined with the known health

condition of Affiant X, the expectation of having recall of one affidavit that was signed during

Affiant X’s entire career is even more unlikely. Finally, and confirming the above, Affiant X has

specifically disclaimed having any specific recollection of the Tabar lawsuit for which the affidavit

was filed. See Ex. A, ⁋ 19.

       Thus, Affiant X is unable to recall the details of the Tabar lawsuit and will have no

testimony to offer regarding that state court case. As related to the more generalized process for

affidavit production, to the extent Affiant X has any recall, that testimony would be duplicative

and cumulative of the testimony plaintiffs have already obtained. When balanced against the

burden and risk to Affiant X, there is arguably no need for Affiant X’s deposition in a case that

does not otherwise involve Affiant X.

IV.    Conclusion

       WHEREFORE, based on the foregoing, Affiant X respectfully requests that this Honorable

Court enter a protective order preventing plaintiffs from taking the deposition of Affiant X.

Alternatively, Affiant X requests that this Court modify the prior order and convert the 4-hour

remote deposition into a deposition by written questions. Sperano v. Invacare Corp., 2006 WL




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8456080 (W.D.N.Y. Apr. 13, 2006), aff’d, 2006 WL 3524483 (W.D.N.Y. Dec. 6, 2006) (allowing

deposition to proceed upon written questions only).




DATED: March 26, 2021                       Respectfully submitted,

                                            BARCLAY DAMON LLP


                                            By:       /s/ Paul A. Sanders
                                                      Paul A. Sanders

                                            Attorneys for Non-Party Witness Affiant X
                                            Office and Post Office Address
                                            2000 Five Star Bank Plaza
                                            100 Chestnut Street
                                            Rochester, New York 14604
                                            Telephone: (585) 295-4426
                                            Email: psanders@barclaydamon.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2021 a true and correct copy of the foregoing was served

upon counsel of record via ECF, including plaintiffs’ counsel below:

       Gregory A. Frank
       Marvin L. Frank
       Asher Hawkins
       FRANK LLP
       370 Lexington Avenue, Suite 1706
       New York, New York 10017
       gfrank@frankllp.com
       mfrank@frankllp.com
       ahawkins@frankllp.com




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